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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTINE KNIGHT,                               :    CIVIL ACTION

                         Plaintiff,             :

                  v.                            :    NO. 21-4992

PORTFOLIO RECOVERY ASSOCIATES,                  :
LLC,
               Defendant.                       :


                             NOTICE OF ARBITRATION HEARING

         Take notice that the above-captioned case has been scheduled for Arbitration in the

James A. Byrne U.S. Courthouse, 601 Market Street, Philadelphia, Pennsylvania 19106 on April

20, 2022 at 9:30 a.m. in Courtroom 5B, 5th floor. The assigned arbitrators will determine the

order in which cases will proceed.



                                                     Kate Barkman
                                                     Clerk of Court


                                                     By: /s/ Sharon A. Hall-Moore
                                                     Sharon A. Hall-Moore
                                                     Supervisor, Court Services
                                                     Phone: 267-299-7034

Date: February 17, 2022


                 NOTE: Arbitrators shall not participate in settlement discussions.


(revised 7/21)
